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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 20-CR-80074-RAR

 UNITED STATES OF AMERICA,

         Plaintiff,
 vs.

 HANNAH EILEEN ROEMHILD,

       Defendant.
 ___________________________________/


       JOINT RECOMMENDATION REGARDING SPECIAL CONDITIONS OF BOND

         THIS MATTER is scheduled before the Court for Initial Appearance on Wednesday,

 October 28, 2020, and the parties hereby respectfully submit for the Magistrate Court’s

 consideration their proposed joint recommendation regarding setting special conditions of bond

 as follows:

         1.      Defendant is to reside with her parents in Connecticut under their care, custody

 and control of her mother Joanna Roemhild at 31 Kirtland Street, Deep River, CT 06417;

         2.      Defendant is to continue treatment at the Intensive Outpatient (“IOP”) level of

 care at Middlesex Hospital Center for Behavioral Health Adult Outpatient Clinic in Connecticut.

 IOP will be 3 hours per day, 3 times per week;

         3.      Defendant is to obtain individual therapy with a primary clinician with experience

 in Bipolar Disorder. Individual therapy should occur at least once a week until provider deems it

 clinically appropriate to reduce frequency;

         4.      Defendant and her family shall continue to participate in family therapy;

         5.      Defendant shall be followed by a psychiatrist for medication management;
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        6.     Defendant shall be permitted to travel throughout the tri-state area, i.e. New York,

 New Jersey and Connecticut, as long as the Defendant is in the care, custody and control of her

 mother, Joanna Roemhild; and

        Dated: October 27, 2020

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